


	
	
	Judiciary  |  Opinions
	
	
	
	
    	



	

	
	

	
	
	
	
	
	
	


		
		
	
























 





					
	
	
	 	




	Skip to Content
			
		
			
				
				
	Follow us on Twitter
	Follow us on Facebook
	Follow us on Youtube
			
			
			    
			      
			    
		        General Information 

	General Information
	Contact Information
	Pay Traffic Fines Online
	Scam Alerts
	Job Opportunities
	Hawaii Courts Mobile App
	Jury Service
	Judiciary Overview
	Court Administration
	Business with Judiciary
	Sealing Court Records


News &amp; Reports 

	News &amp; Reports
	Press Releases
	Legislative Update
	Reports
	In the Media
	Oral Arguments
	Media Guidelines
	Speeches
	Judicial Financial Disclosure Statements


Self-Help 

	Self-Help
	Court Forms
	Pay Traffic Fines Online
	Collections Agency (MSB)
	Victim Services
	Request Court Records
	Traffic Cases
	Self-Help Centers
	Protective Orders
	Mortgage Foreclosure
	Sealing Court Records
	Small Claims
	Regular Claims
	Divorce
	Landlord-Tenant Claims
	Tips on Going to Court


Services 

	Services
	ADA
	Court Interpreting
	Language Assistance
	Law Library
	Mediation/ADR
	Children’s Justice Centers
	Victim Services
	Volunteer Court Navigators at Maui District Court
	Volunteer Settlement Master Process
	Vehicle Tracker


Courts 

	Courts
	Supreme Court
	Intermediate Court of Appeals
	Circuit Court
	District Court
	Family Court
	Land and Tax Appeal Courts
	Administrative Adjudication
	Commission on Judicial Conduct
	Judicial Performance Reviews
	Judicial Selection Commission
	Judicial Financial Disclosure Statements


Legal References 

	Legal References
	Search Court Records
	Proposed Rule Changes
	Supreme Court Various Orders
	Opinions and Orders
	Court Rules
	Internet Resources


Community Outreach 

	Community Outreach
	Courts in the Community
	Civic Education
	Volunteer Opportunities
	Judiciary History Center
	Divorce Law Seminar
	Court Tours


Special Projects &amp; Events 

	Special Projects &amp; Events
	Appellate Pro Bono Program
	Courts in the Community
	Criminal Pretrial Task Force
	DWI Court
	Environmental Court
	Girls Court
	Hawaii Courts Mobile App
	HOPE Probation
	Kona Judiciary Complex Project
	Mental Health Court
	STAE (Steps to Avoid Eviction)
	Veterans Treatment Court


			
			
		        Home
For Public 

	Oral Arguments Schedule
	Contact Information
	Pay Traffic Fines Online
	Court Forms
	Scam Alerts
	Bar Examination Results
	Divorce Law Seminar
	Press Releases
	Volunteer
	Volunteer Court Navigators at Maui District Court
	Child Custody Evaluators Registry
	Judicial Performance Reviews
	Judicial Financial Disclosure Statements
	Feedback Form


For Litigants 

	Court Forms
	Pay Fines
	Search Court Records
	Law Library
	Internet Legal Resources
	Attorney Information
	Billingual Attorneys
	Child Custody Evaluators Registry
	Feedback Form


For Attorneys 

	General Information
	Civil JEFS Info Page
	Efiling
	Bar Application
	Billingual Attorneys
	Oral Arguments
	Jury Instructions
	Membership Status
	Continuing Legal Education
	Hawaii Lawyers’ Fund
	Hawaii State Bar Association
	Office of Disciplinary Counsel
	Child Custody Evaluators Registry
	Feedback Form


For Jurors 

	Jury Service Information
	Court Information
	Contact Information
	Feedback Form


For Media 

	Media Guidelines
	Press Releases
	Search Court Records
	Contact Information
	Opinions and Orders
	Judicial Performance Reviews
	Judicial Financial Disclosure Statements
	Facilities Use Application


Language Access 

	Language Assistance Policy
	Language Access Services
	List of Interpreters
	Request a Court Interpreter
	Sign Language Interpreters
	Use a Court Interpreter
	Become a Court Interpreter
	Contact Information


ADA 

	ADA Accommodations
	Request an Accommodation
	Sign Language Interpreters
	Service Animals
	Contact Information


Access to Justice 

	Access to Justice Commission
	Access to Justice Initiatives
	Appellate Pro Bono Program
	Access to Justice Rooms
	Hawaii Self-Help Interactive Forms
	Hawaii Legal Services Portal
	Hawaii Online Pro Bono
	Judiciary’s 20/20 Vision
	Small Claims Court Q&amp;A
	Volunteer Court Navigators at Maui District Court


Contact Us
			

		
    
    
		
					
			Home » Hawaii Appellate Court Opinions and Orders » Opinions 
		
					
	 COVID-19 &amp; the COURTS: FOR UPDATES, CLICK HERE	


	
		

					Opinions			 
			
			For 2009 and older, Case Number link will display content as an html page. PDF link will display a scanned image with file date stamp and judicial signatures. Beginning in 2010, Case Number link will display a scanned image with file date stamp and judicial signatures. ADA link will display an accessible file compatible with online reader devices. Click here to view Opinions and Orders from 1998 to 2009.
						
			
						
				
				
				
			
    		
				
					
						
							Date
							Ct.
							Case Number
							Case Name
							Appealed From
							Reporter Citation
						
					
					
												
							May 27, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Enos (Amended Opinion).&nbsp; ICA s.d.o., filed 04/30/2019 [ada], 144 Haw. 375.&nbsp; Application for Writ of Certiorari, filed 08/26/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 10/10/2019 [ada].&nbsp; S.Ct. Opinion, filed 05/27/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 27, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Key (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 01/29/2020 [ada], 146 Haw. 118.&nbsp; Application for Writ of Certiorari, filed 03/30/2020.

							District Court, 1st Circuit, Wahiawa Division
							
						
												
							May 27, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Enos.&nbsp; ICA s.d.o., filed 04/30/2019 [ada], 144 Haw. 375.&nbsp; Application for Writ of Certiorari, filed 08/26/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 10/10/2019 [ada].

							Circuit Court, 1st Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Scriven (Order Approving Stipulation for Voluntary Dismissal of the Appeal).

							Circuit Court, 5th Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Bergmann v. Hawai‘i Residency Programs, Inc. (Order Approving Stipulation to Dismiss Appeal With Prejudice).

							Circuit Court, 1st Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Cornelio v. State (s.d.o., affirmed).

							Circuit Court, 2nd Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Thronas-Kaho‘onei (s.d.o., affirmed).

							Circuit Court, 5th Circuit
							
						
												
							May 26, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Liao (s.d.o., affirmed).

							District Court, 1st Circuit
							
						
												
							May 22, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Xu v. Ochiai (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 05/06/2020.

							Original Proceeding
							
						
												
							May 22, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							DB v. BB (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing as Moot All Pending Motions in CAAP-XX-XXXXXXX).

							Family Court, 1st Circuit
							
						
												
							May 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Wilmington Trust v. Association of Apartment Owners of Waikoloa Hills Condominium (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 3rd Circuit
							
						
												
							May 21, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Prudential Locations, LLC v. Gagnon (Order Dismissing Application for Writ of Certiorari). Consolidated with CAAP-XX-XXXXXXX.&nbsp; ICA mem. op., filed 04/15/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 05/15/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 21, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							JZ v. JZ (mem. op., affirmed, vacated and remanded).

							Family Court, 1st Circuit
							
						
												
							May 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Baker (Order of Correction).&nbsp; ICA s.d.o., filed 04/18/2019 [ada], 144 Haw. 334. Application for Writ of Certiorari, filed 07/24/2019.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 08/30/2019 [ada].&nbsp; S.Ct. Opinion, filed 03/13/2020 [ada].

							District Court, 1st Circuit, Honolulu Division
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Schmidt v. Schmidt (Order Dismissing Appeal).

							Family Court, 1st Circuit
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Trubachev (Order Dismissing Appeal).

							Circuit Court, 3rd Circuit
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Grandinetti (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot).

							Circuit Court, 3rd Circuit
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Grandinetti (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot).

							Circuit Court, 3rd Circuit
							
						
												
							May 20, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Grace v. Yett Property Management, LLC (Order Dismissing Appeal).

							Labor and Industrial Relations Appeals Board
							
						
												
							May 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Porter v. The Queen’s Medical Center (Order Accepting Application for Writ of Certiorari).&nbsp; ICA Opinion, filed 02/21/2020 [ada].&nbsp; Motion for Reconsideration, filed 02/27/2020.&nbsp; ICA Order Denying Motion for Reconsideration, filed 03/04/2020.&nbsp; Amended Order Denying Motion for Reconsideration, filed 03/10/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 03/11/2020.&nbsp;&nbsp; S.Ct. Order Dismissing Application for Writ of Certiorari, filed 03/19/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 04/13/2020.

							Labor and Industrial Relations Appeals Board
							
						
												
							May 20, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							LO v. NO (Order Accepting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed 02/06/2020 [ada].&nbsp; Application for Writ of Certiorari, filed 04/03/2020.

							Family Court, 1st Circuit
							
						
												
							May 19, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Office of the Public Defender v. Connors (Fifth Interim Order).&nbsp; S.Ct. Interim Order re: Initial Summary Report and Initial Recommendations of the Special Master, filed 04/09/2020 [ada]. Consolidated with SCPW-XX-XXXXXXX. S.Ct. Interim Order, filed 04/15/2020 [ada].&nbsp; S.Ct. Third Interim Order, filed 04/24/2020 [ada].&nbsp; Concurrence re: Interim Order&nbsp;[ada].&nbsp; S.Ct. Fourth Interim Order, filed 05/04/2020 [ada].

							Original Proceeding
							
						
												
							May 19, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							KG v. AG (Order Dismissing Appeal for Lack of Appellate Jurisdiction).

							Family Court, 2nd Circuit
							
						
												
							May 19, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Martin (Order).&nbsp; ICA s.d.o., filed 03/29/2019. ICA Amended s.d.o., filed 03/29/2019 [ada], 144 Haw. 153.&nbsp; Application for Writ of Certiorari, filed 08/07/2019. &nbsp;S.Ct. Order Accepting Application for Writ of Certiorari, filed 09/18/2019 [ada]. S.Ct. Opinion, filed 04/22/2020 [ada].&nbsp; S.Ct. Order of Correction, filed 04/23/2020 [ada].&nbsp; Motion for Reconsideration, filed 05/14/2020.

							Circuit Court, 3rd Circuit
							
						
												
							May 19, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							RSM Inc. v. Middleton (Order Dismissing Appeal).

							District Court, 3rd Circuit, North and South Hilo Division
							
						
												
							May 19, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							In re Taniguchi Trust (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 02/24/2020 [ada].&nbsp;&nbsp; Application for Writ of Certiorari, filed 04/07/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 19, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Uchima.&nbsp; Opinion by Recktenwald, C. J. Concurring in Part and Dissenting in Part, And Concurring in the Judgment [ada].&nbsp; Opinion by Nakayama, J., Dissenting From the Judgment [ada].&nbsp; ICA&nbsp;s.d.o., filed 02/15/2018 [ada], 141 Haw. 396. Application for Writ of Certiorari, filed 05/24/2018.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 07/05/2018 [ada]. Dissent by Nakayama, J., with whom Recktenwald, C.J., joins.

							District Court, 1st Circuit, Honolulu Division
							
						
												
							May 15, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Lauro (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 04/30/2020.

							Original Proceeding
							
						
												
							May 15, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							HawaiiUSA Federal Credit Union v. Monalim (Order Denying Motion for Partial Reconsideration). ICA s.d.o., filed 05/17/2018 [ada] 142 Haw. 216. Application for Writ of Certiorari filed 09/17/2018. S.Ct. Order Accepting Application for Writ of Certiorari, filed 11/14/2018 [ada].&nbsp; S.Ct. Opinion, filed 04/30/2020 [ada].&nbsp; Concurring and Dissenting Opinion by Nakayama, J. in which Recktenwald, C.J., Joins [ada].&nbsp; Motion for Partial Reconsideration, filed 05/11/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 15, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							In re Harshman (Order Denying Petition for Writ of Mandamus).&nbsp; Petition for Writ of Mandamus, filed 04/07/2020.

							Original Proceeding
							
						
												
							May 15, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Young v. Chang (Order Denying Petition for Writ of Prohibition).&nbsp; Petition for Writ of Prohibition, filed 03/23/2020.

							Original Proceeding
							
						
												
							May 15, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Gallagher. Dissenting Opinion by Recktenwald, C.J. [ada]. Dissenting Opinion by Nakayama, J. [ada]. ICA&nbsp;s.d.o., filed 12/20/2017 [ada], 141 Haw. 247. Application for Writ of Certiorari, filed 03/01/2018. S.Ct. Order Accepting Application for Writ of Certiorari, filed 04/13/2018 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							May 15, 2020
							S.Ct
							SCOT-XX-XXXXXXX [ADA]
							Lāna‘ians for Sensible Growth v. Land Use Commission.&nbsp; Dissenting Opinion as to Parts III (E) and IV By Wilson, J.[ada]&nbsp; Opinion Concurring in the Judgment and Dissenting by Recktenwald, C.J., in Which Nakayama, J., Joins.[ada].

							Land Use Commission
							
						
												
							May 15, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Yamano v. Ochiai (Order Denying “Application for Writ of Prohibition/Mandamus”).&nbsp; “Application for Writ of Prohibition/Mandamus”, filed 05/06/2020.

							Original Proceeding
							
						
												
							May 15, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Shaw (mem. op., vacated and remanded).

							Circuit Court, 1st Circuit
							
						
												
							May 14, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Ted’s Wiring Service, Ltd. v. Department of Transportation (Order Rejecting Application for Writ of Certiorari).&nbsp; ICA mem.op., filed 12/26/2019 [ada], 146 Haw. 31.&nbsp; Application for Writ of Certiorari, filed 04/03/2020.

							Circuit Court, 1st Circuit
							
						
												
							May 14, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Tavares (Order Dismissing Certiorari Proceeding).&nbsp; ICA mem. op., filed 11/29/2019 [ada], 145 Haw. 299.&nbsp; Application for Writ of Certiorari, filed 01/23/2020.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari, filed 05/05/2020 [ada].

							Circuit Court, 1st Circuit
							
						
												
							May 13, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Pennymac Corp. v. Godinez (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 12/06/2019 [ada], 145 Haw. 442.&nbsp; Application for Writ of Certiorari, filed 03/11/2020.

							Circuit Court, 2nd Circuit
							
						
												
							May 12, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Taylor v. Attorneys At Law, Crudele &amp; De Lima (Order Dismissing Appeal for Lack of Appellate Jurisdiction and Dismissing All Pending Motions as Moot).

							Circuit Court, 3rd Circuit
							
						
												
							May 11, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Jaentsch (Order Accepting Application for Writ of Certiorari).&nbsp; ICA s.d.o., filed 12/31/2019 [ada], 146 Haw. 32.&nbsp; Application for Writ of Certiorari, filed 04/01/2020.

							Family Court, 1st Circuit
							
						
												
							May 8, 2020
							S.Ct
							SCPW-XX-XXXXXXX [ADA]
							Austin v. Browning (Order Denying Petition for Writ of Prohibition).&nbsp; Petition for Writ of Mandamus, filed 02/28/2020.

							Original Proceeding
							
						
												
							May 8, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							In re The Estate of Stirling (Order Approving Stipulation to Dismiss Appeal).

							Circuit Court, 2nd Circuit
							
						
												
							May 8, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Pattioay v. State (Order Dismissing Appeal For Lack Of Appellate Jurisdiction, Dismissing All Pending Motions As Moot, And Directing Circuit Court To Treat Notice Of Appeal As Non-Conforming HRPP Rule 40 (c) (2) Petition For Post-Conviction Relief And Open A Circuit Court Special Proceeding).

							Circuit Court, 1st Circuit
							
						
												
							May 8, 2020
							ICA
							CAOT-XX-XXXXXXX [ADA]
							Purugganan v. State (Order Dismissing Case Number CAOT-XX-XXXXXXX for Lack of Jurisdiction and Dismissing All Pending Motions as Moot).

							Non-Conforming Petition
							
						
												
							May 8, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							Kadomatsu v. County of Kaua‘i (mem. op., affirmed).

							Circuit Court, 5th Circuit
							
						
												
							May 7, 2020
							S.Ct
							SCMF-XX-XXXXXXX [ADA]
							February 2020 Notice of Passing the Hawai‘i Bar Examination.

							
							
						
												
							May 6, 2020
							ICA
							CAAP-XX-XXXXXXX [ADA]
							State v. Jason (Order Granting Motion to Dismiss Appeal).

							Circuit Court, 3rd Circuit
							
						
												
							May 5, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							State v. Ikimaka (Order Accepting Application for Writ of Certiorari).&nbsp; ICA mem. op., filed 11/27/2019.&nbsp; ICA Amended mem. op., filed, 12/18/2019 [ada], 146 Haw. 29.&nbsp; Application for Writ of Certiorari, filed 03/23/2020.&nbsp;

							Circuit Court, 5th Circuit
							
						
												
							May 5, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Estate of Frey v. Mastroianni.&nbsp; ICA mem. op., filed 06/29/2018 [ada], 142 Haw. 483.&nbsp; Application for Writ of Certiorari, filed 09/28/2018.&nbsp; S.Ct. Order Accepting Application for Writ of Certiorari,&nbsp; filed 11/29/2018 [ada].

							Circuit Court, 2nd Circuit
							
						
												
							May 5, 2020
							S.Ct
							SCWC-XX-XXXXXXX [ADA]
							Haynes v. Haas.&nbsp; ICA mem. op., filed, 04/17/2019 [ada], 144 Haw. 157.&nbsp; Application for Writ of Certiorari, filed 07/15/2019. S.Ct.Order Accepting Application for Writ of Certiorari, filed 09/11/2019 [ada].

							Circuit Court, 3rd Circuit
							
						
											
				
			
			1
2
3
…
7
Next »
		
		
				 

		 

			
			
		
			
				
					Site Search
					
				    	
				   		
				    	
				    	
				    	
				    
			    
			
		
		
		
			
			
			    
					eCourt Kokua*
					For access to traffic cases; District Court, Circuit Court, and Family Court criminal; District Court and Circuit Court civil; Land Court and Tax Appeal Court; and appellate case information
				
			    
			    	Hoʻohiki
				  	For access to Family Court civil case information
				
			    
			    	Jobs
			    	Search for jobs at the Judiciary
				
			    
			    	Efiling
			    	Case information
				
			
		
		Placeholder
			
				
			Language Services
			
			    Language Access Services Home
				廣東話 / 广东话 | Cantonese
				Kapasen Chuuk | Chuukese
				Ilokano | Ilokano
				日本語 | Japanese
				한국어 | Korean
				Kosrae | Kosraean
				國語 / 普通话 | Mandarin
				Kajin Majôl | Marshallese
				Pohnpei | Pohnpeian
				Gagana Samoa | Samoan
				Español | Spanish
				Tagalog | Tagalog
				Lea faka-Tonga | Tongan
				Tiếng Việt | Vietnamese
			
		
	 
		
	
					


    		
         
        
            
                for Public
Oral Arguments Schedule
Contact Information
Pay Fines
Court Forms
Scam Alerts
Bar Examination Results
Divorce Law Seminar
Press Releases
Volunteer
Volunteer Court Navigators at Maui District Court
Child Custody Evaluators Registry
Judicial Performance Reviews
Judicial Financial Disclosure Statements
Feedback Form
for Litigants
Court Forms
Pay Fines
Search Court Records
Law Library
Internet Legal Resources
Attorney Information
Bilingual Attorneys
Child Custody Evaluators Registry
Feedback Form
for Attorneys
General Information
Efiling
Civil JEFS Info
Bar Application
Billingual Attorneys
Oral Arguments
Jury Instructions
Membership Status
Continuing Legal Education
Hawaii Lawyers’ Fund
Hawaii State Bar Association
Office of Disciplinary Counsel
Child Custody Evaluators Registry
Feedback Form
for Jurors
Jury Service Information
Court Information
Contact Information
Feedback Form
Language Access
Language Assistance Policy
Language Access Services
List of Interpreters
Request a Court Interpreter
Sign Language Interpreters
Use a Court Interpreter
Become a Court Interpreter
Contact Information
for Media
Media Guidelines
Press Releases
Search Court Records
Contact Information
Opinions and Orders
Judicial Performance Reviews
Judicial Financial Disclosure Statements
ADA Assistance
ADA Accommodations
Request an Accommodation
Sign Language Interpreters
Service Animals
Contact Information
Access to Justice
Access to Justice Commission
Access to Justice Initiatives
Access to Justice Rooms
Hawaii Self-Help Interactive Forms
Hawaii Legal Services Portal
Hawaii Online Pro Bono
Judiciary’s 20/20 Vision
Small Claims Court Q&amp;A
Volunteer Court Navigators at Maui District Court
General Information
General Information
Contact Information
Pay Traffic Fines Online
Scam Alerts
Job Opportunities
Jury Service
Judiciary Overview
Court Administration
Business with Judiciary
Sealing Court Records
News &amp; Reports
Press Releases
Legislative Update
Reports
In the Media
Oral Arguments
Media Guidelines
Speeches
Judicial Financial Disclosure Statements
Self-Help
Court Forms
Pay Traffic Fines Online
Traffic Cases
Request Court Records – Oahu
Collection Agency (MSB)
Self-Help Centers
Victim Services
Protective Orders
Mortgage Foreclosure
Sealing Court Records
Small Claims
Regular Claims
Divorce
Landlord-Tenant Claims
Tips on Going to Court
Services
ADA
Court Interpreting
Language Assistance
Law Library
Mediation/ADR
Children’s Justice Centers
Victim Services
Volunteer Court Navigators at Maui District Court
Volunteer Settlement Master Process
Vehicle Tracker
Courts
Supreme Court
Intermediate Court of Appeals
Circuit Court
District Court
Family Court
Land and Tax Appeal Courts
Administrative Adjudication
Commission on Judicial Conduct
Judicial Performance Reviews
Judicial Selection Commission
Judicial Financial Disclosure Statements
Legal References
Search Court Records
Proposed Rules Changes
Supreme Court Various Orders
Opinions
Court Rules
Internet Resources
Community Outreach
Courts in the Community
Civics Education
Volunteer Opportunities
Judiciary History Center
Divorce Law Seminar
Court Tours
Special Projects &amp; Events
Appellate Pro Bono Program
Courts in the Community
Criminal Pretrial Task Force
DWI Court
Environmental Court
Girls Court
Hawaii Courts Mobile App
HOPE Probation
Kona Judiciary Complex Project
Mental Health Court
STAE (Steps to Avoid Eviction
Veterans Treatment Court
Contact Us
Administrative Offices of the Courts
Courts of Appeal
Oahu – First Circuit
Maui – Second Circuit
Hawaii – Third Circuit
Kauai – Fifth Circuit
District Court Addresses
We Value Your Opinion Survey
             
            

                
                
	Follow us on Twitter
	Follow us on Facebook
	Follow us on Youtube
    	           © 2020 Hawaii State Judiciary. All rights reserved.
    	           Privacy Policy&nbsp; | &nbsp;Terms of Use &nbsp;|&nbsp; Accessibility Information&nbsp;
                   *The Hawaii Judiciary is not affiliated with Sustain Technologies, Inc. or with eCourt, which is a registered trademark of Sustain Technologies, Inc
    	           
                            
                   
        
    
    















	  
     
    
